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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 M.G.S., an adjudicated adult ward under        )
 court appointed guardianship, by Next-         )
 Friends,                                       )
                                                )
                Plaintiff,                      )   Case No.       11-cv-7934
                                                )
        v.                                      )   Honorable Judge Guzman
                                                )   Magistrate Judge Gilbert
 CAROLYN TOERPE, Court-Appointed                )
 Guardian, et al.                               )
                                                )
                Defendants.                     )

                    JUDICIAL DEFENDANTS’ MOTION TO DISMISS

       Defendant JUDGE JANE LOUISE STUART and CIRCUIT COURT OF COOK

COUNTY PROBATE DIVISION (collectively “Judicial Defendants”), by their attorney, LISA

MADIGAN, Illinois Attorney General, hereby move to dismiss Plaintiff’s Amended Complaint

pursuant to Rule 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure for the reasons set

forth in the memorandum of support of this motion; that memorandum is incorporated herein by

reference.

                                                    Respectfully submitted,

                                                    /s/ Deborah M. Beltran
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